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Attorneys for Plaintiff




                       UNITED STATES COURT DISTRICT COURT

                                    DISTRICT OF OREGON

GARY C. YOUNGS,
                                                      Civil No. 6:16-cv-01601-AC
                   Plaintiff,
                                                      ORDER APPROVING
       vs.                                            ATTORNEY FEES PURSUANT TO
                                                      42 U.S.C. §406(b)
Commissioner of Social Security
Administration,

                       Defendant.


       After considering Plaintiff's Motion, and counsel for Defendant having no objection,

Plaintiff's Motion is hereby granted in the sum of $23,241.00 in attorney fees, less Equal

Access to Justice ("EAJA") fees already received by counsel in the amount of $8,500.00, for

a net cost to the Plaintiff herein of $14,741.00 as full settlement of all attorney fees pursuant

to 42 U.S.C. §406(b). Any past-due benefits withheld by the Defendant in anticipation of an


ORDER APPROVING ATTORNEYS FEES PURSUANT TO 42 U.S.C §406 (b) -                                 1
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order under 42 U.S.C. §406(b), shall be payable to Plaintiffs counsel, Drew L. Johnson, PC,

less an administrative assessment pursuant to 42 U.S.C. §406(d), and mailed to their office at

1700 Valley River Drive, Eugene, OR 97401, consistent with this order. There are no other

costs.

          IT IS SO ORDERED this day of October   c<._,/ ,2020


                                             U.S. (Bi~riet Judge/Magistrate Judge
                                                    )


PRESENTED BY:

By:       /s/ SHERWOOD J. REESE
          Sherwood J. Reese, OSB #144130
          Of Attorneys for Plaintiff




ORDER APPROVING ATTORNEYS FEES PURSUANT TO 42 U.S.C §406 (b) -                              2
